                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            EL PASO DIVISION


UNITED STATES OF AMERICA,


               Plaintiff,
                                               Civil Action No. EP-21-cv-173-KC
v.

STATE OF TEXAS; and GREG
ABBOTT, in his official capacity as
Governor of the State of Texas,

               Defendants.


DECLARATION OF SISTER NORMA PIMENTEL, EXECUTIVE DIRECTOR
     OF CATHOLIC CHARITIES OF THE RIO GRANDE VALLEY


     1. My name is Sister Norma Pimentel, M.J. I am over the age of 18 and have

personal knowledge of the contents of this declaration, which are true and correct.

     2. I am a religious sister of the Missionaries of Jesus and have served as the

Executive Director of Catholic Charities of the Rio Grande Valley since 2004. I submit

this Declaration in support of the amicus brief being filed on behalf of Catholic

Charities of the Rio Grande Valley (“Catholic Charities”).

     3. Catholic Charities is a ministry of the Roman Catholic Diocese of Brownsville.

The current Bishop of the Diocese of Brownsville is the Most Rev. Daniel E. Flores.

     4. Catholic Charities operates a Humanitarian Respite Center in McAllen, Texas,

which provides basic essential services to migrants who have been recently processed

and released by Border Patrol and entered the country. In my role as Executive



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Director of Catholic Charities, I supervise the operation of the Humanitarian Respite

Center.

   5. In response to the COVID-19 pandemic, we have made sure to provide COVID-

19 tests as soon as migrants arrive and before their admission to the Respite Center.

Border Patrol does not test for COVID-19. To protect the local community, Catholic

Charities in cooperation with city and county officials arrange for testing sites when

migrants are dropped off. Only those who test negative are admitted to the

Humanitarian Respite Center for services. The U.S. Border Patrol sends vehicles to

drop migrants off at our Centers multiple times a day, starting at 7 in the morning

until around midnight.

   6. For those who test positive for COVID-19, we work to ensure they are

separated from both our population and our neighbors in the broader community. We

have worked with hotels and more recently sites provided by city and county officials

to provide quarantine spaces to those testing positive for COVID-19. When necessary,

for those who test positive, ground transportation is provided to quarantine locations.

   7. At the Respite Center we provide an array of services, including giving

migrants a place to briefly rest safely, offering warm meals, showers, and clean

clothes, and attending to migrants’ health needs. The Center also allows migrants a

way to be out of the sun when temperatures are dangerously high. Most importantly,

we treat every person we encounter with respect, recognizing their inherent human

dignity. On average, we see and serve over a thousand migrants a day at the

Humanitarian Respite Center.




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   8. As a Catholic ministry, this work of charity flows directly from our Gospel-

inspired mission to restore human dignity to those denied it. The encyclicals of our

Holy Father, Pope Francis, emphasize that migrants “possess the same intrinsic

dignity as any person,” and the same “inalienable dignity of each human person,

regardless of origin, race or religion.” Pope Francis, Fratelli Tutti, ¶ 39 (Oct. 3, 2020).

The Catechism of the Catholic Church proclaims that our duty is to “to welcome the

foreigner” in search of security. Catechism of the Catholic Church § 2241. Serving

those in need, and especially those we serve through the Humanitarian Respite

Center, is part of our sincere religious exercise as Catholics.

   9. The vast majority of the migrants who use the Humanitarian Respite Center

are families, especially mothers traveling with children. Single men and

unaccompanied minors are not a part of the Center operations. Most of the women

and children who arrive at the Humanitarian Respite Center have been through

serious trauma and struggle, which can include assaults. We believe that by offering

them respect and welcome, we can help them take the first step toward healing. As

I have witnessed many times in my work at the Respite Center, the transformation

can begin when they are received by someone who cares.

   10. When a migrant is received at the Respite Center, she has a chance to take a

shower, get clean clothing, food, and water, as well as resources for her children, such

as baby bottles, formula, and diapers. Volunteer doctors and nurses assist the

mothers who are pregnant or nursing, and we help provide over-the-counter

medication where it will help with pains or illness. Volunteer attorneys meet with




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the families. During this time, our staff makes contact with the migrants’ family

members if possible, and works to secure safe transport, for example by bus or

airplane, to their ultimate destination, sometimes including hospitals or shelters.

   11. The   Governor’s    Executive    Order,   GA-37,   prohibiting   the   ground

transportation of migrants was issued on July 28, 2021. On the afternoon of July 28,

a director of the Texas Department of Public Safety and another officer reached out

indicating that he wanted to meet with me about the Governor’s Order. Along with

the Most Rev. Mario Alberto Avilés, Auxiliary Bishop of Brownville, I met with the

director in person. The director told me that the Governor’s Order would prohibit

Catholic Charities from transporting migrants in vehicles of any kind to any location,

that the Order was in effect immediately, and that he would inform us when

enforcement would begin.

   12. He further stated that once the Order went into effect he would put a patrol

car by the entrance of the Respite Center to watch for and identify people when they

leave, and stop any vehicle suspected of transporting migrants. He informed Bishop

Avilés and me that if a driver did not follow an order to return with the migrants to

the Humanitarian Respite Center, Department of Public Safety officers would

impound the vehicle.

   13. I remain deeply concerned that the Governor’s Order prohibiting ground

transportation will worsen the COVID-19 crisis and have a negative impact on the

safety and health of those we serve and those in our surrounding community.




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   14. First, it would prevent us from being able to safely facilitate quarantine for

those who test positive for COVID-19. Quarantine is necessary to protect those we

serve and all our neighbors.

   15. Second, the Order would prevent us from providing necessary transport for

urgent healthcare needs, particularly those of pregnant and nursing mothers and

children, who may require medical care at a hospital or in another clinical setting.

   16. Third, it would prevent us from ensuring that migrants are safely transported

to a known location while awaiting any further action by the federal government

regarding their immigration status. It would endanger lives by increasing the

opportunities for traffickers and others who are not committed to providing safe, non-

coercive transportation to families in need of assistance.

   17. Fourth, it would undermine the State of Texas’s interest in following the law,

since one of the services we provide at the center is the opportunity for migrants to

speak with attorneys and learn more about their legal rights and the legal process.

   18. Fifth, and relatedly, it would make it impossible for us to transport migrants

to the McAllen Airport (nearly two miles from our Center), to reunify with families,

or to shelters, as needed.

   19. Sixth, and most importantly, preventing us from helping migrants leave the

Humanitarian Respite Center for appropriate destinations means that we cannot

admit new migrants once we have reached capacity. As a result, we would have to

turn away mothers and babies who are seeking temporary shelter, food, and medical

assistance.




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   20. If we cannot provide humanitarian aid, it is my understanding that these

families would likely be left to their own devices on the street, without access to food,

shelter and medical care.

   21. In short, if left in place, the Executive Order will prevent our ministry from

doing its work, in cooperation with the federal government’s immigration

enforcement authorities, of properly attending to the health and safety of migrants,

particularly mothers and very young children, as well as protecting the health of our

broader community.


   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on August 12, 2021.




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